                Case 6:18-ap-00072-KSJ        Doc 1    Filed 07/10/18     Page 1 of 24



                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

IN RE:

Regla De La Caridad Fernandez,                  )
                                                )      CASE NO. 6:18-bk-03644-KSJ
            Debtor.                             )      CHAPTER 7
_______________________/                        )
                                                )
Richard B. Webber II, Trustee,                  )
                                                )
                   Plaintiff,                   )      ADV. NO. 6:18-ap-        .
vs.                                             )
                                                )
Dustin R. Fredrickson,                          )
                                                )
            Defendant.                          )
_______________________/                        )

 ADVERSARY PROCEEDING COMPLAINT TO SELL REAL PROPERTY LOCATED
  AT 7865 MISTRAL DRIVE, ORLANDO, FL 32827 PURSUANT TO 11 U.S.C. §363(h)

         Plaintiff, Richard B. Webber II, as Chapter 7 Trustee of the Bankruptcy Estate for the

Debtor, Regla De La Caridad Fernandez, sues Defendant, Dustin Fredrickson, and says:

         1.        On June 18, 2018 (the “Petition Date”), the Debtor, Regla De La Caridad

Fernandez (“Debtor”), filed a voluntary petition for Chapter 7 Bankruptcy.

         2.        On June 18, 2018, the Court appointed the Plaintiff, Richard B. Webber II

(“Trustee”), to act as Chapter 7 Trustee of the Debtor’s Bankruptcy Estate, and in so acting has

authority to, and does, bring this Action.

         3.        Debtor’s Chapter 7 case is pending in the United States Bankruptcy Court in the

Middle District of Florida, Orlando Division, Case 6:18-bk-03644-KSJ.

         4.        This proceeding is a “core proceeding” pursuant to 11 U.S.C. § 157(b)(2)(A), (N),

and (O).




[11000‐Fernandez/6866766/1] 
                Case 6:18-ap-00072-KSJ         Doc 1    Filed 07/10/18    Page 2 of 24



         5.        This Court has jurisdiction pursuant to 28 U.S.C. § 1334 and 28 U.S.C. §

157(b)(2).

         6.        To the extent that this Action, or any portion thereof, is not a core proceeding,

Plaintiff consents to the entry of final orders or judgments by the presiding Bankruptcy Judge.

         7.        On or about November 18, 2015, Debtor filed a Petition for Dissolution of

Marriage against her spouse, Dustin Fredrickson (“Defendant”), in the Circuit Court of the Ninth

Judicial Circuit, in and for Orange County, Florida, in Case Number 2015-DR-018331-O, styled

Relga Fredrickson v. Dustin Fredrickson (the “Divorce Proceeding”).

         8.        On or about November 22, 2017, Debtor and Defendant entered into a Marital

Settlement Agreement as part of the Divorce Proceeding. A true and correct copy of the Marital

Settlement Agreement is attached hereto as Exhibit “A” and incorporated by reference herein.

         9.        On or about March 8, 2018, the presiding Judge in the Divorce Proceeding

entered a Final Judgment of Dissolution of Marriage, pursuant to which Debtor and Defendant

were formally divorced. A true and correct copy of the Final Judgment of Dissolution of

Marriage is attached hereto as Exhibit “B” and incorporated by reference herein.

         10.       Debtor and Defendant own as joint tenants with rights of survivorship the

following real property:

                        Lot 184, Laureate Park Phase 1B, according to the map or plat thereof, as

                        recorded in Plat Book 76, Page(s) 145 through 152, inclusive, of the Public

                        Records of Orange County, Florida. Parcel ID# 25-24-30-4945-01-840

                        More commonly known as: 7865 Mistral Drive, Orlando, FL 32827-7469




[11000‐Fernandez/6866766/1] 
                Case 6:18-ap-00072-KSJ         Doc 1     Filed 07/10/18     Page 3 of 24



(hereinafter the “Property”). A true and correct copy of the Warranty Deed that vests title to the

Property with Debtor and Defendant is attached hereto as Exhibit "C" and incorporated by

reference herein.

         11.       Debtor and Defendant each own a fifty-percent (50%) interest in the Property.

         12.       Paragraph 8(b) of the Marital Settlement Agreement confirms that Debtor and

Defendant shall list the Property for sale.

         13.       Paragraphs 8(g) through 8(i) of the Marital Settlement Agreement confirm how

the Debtor and Defendant shall divide the proceeds from the sale of the Property.

         14.       Partition in kind of the Property among the Debtor’s Bankruptcy Estate and

Defendant is impracticable, because the Property is a residential house.

         15.       Sale of the Bankruptcy Estate’s undivided interest in the Property would realize

significantly less for the Bankruptcy Estate than sale of the Property free of the interests of

Defendant.

         16.       The benefit to the Bankruptcy Estate of a sale of the Property free of the interests

of Defendant outweighs the detriment, if any, to Defendant.

         17.       The Property is not used in the production, transmission, or distribution, for sale,

of electric energy or of natural or synthetic gas for heart, light, or power.

         18.       In the Debtor’s Bankruptcy Schedules, the Debtor valued the Property at

$505,000, subject to a mortgage in favor of Chase Corporation (“Secured Creditor”) in the

amount of $299,797 as of the Petition Date.

         19.       Trustee will administer Debtor’s 50% interest in the Property for the benefit of

Debtor’s Estate, and Defendant shall receive his 50% in the Property pursuant to the terms of the

Marital Settlement Agreement.




[11000‐Fernandez/6866766/1] 
                Case 6:18-ap-00072-KSJ        Doc 1   Filed 07/10/18    Page 4 of 24



         20.       Pursuant to 11 U.S.C. §363(h), Trustee requires an Order of this Court allowing

Trustee to sell the Property and pay Secured Creditor the balance due on the Secured Creditor’s

mortgage from the proceeds of the sale.

         WHEREFORE, Plaintiff/Chapter 7 Trustee, Richard B. Webber II, prays that this

honorable Court will enter a Final Judgment in his favor pursuant to 11 U.S.C. §363(h) that

allows and authorizes the Trustee to sell the Property, to pay the Secured Creditor in full, to

retain the Bankruptcy Estate’s portion of the proceeds from the sale of the Property, and to

deliver Defendant his portion of the proceeds from the sale of the Property, less the costs of this

litigation, and for such further relief as is just and proper under the circumstances of this

Adversary Proceeding.

         DATED: July 10, 2018

                                               /s/ Richard B Webber II
                                               Richard B Webber II, Trustee
                                               PO Box 3000
                                               Orlando, FL 32802-3000
                                               Phone: (407)563-4328
                                               E-mail: rwebber@zkslawfirm.com




[11000‐Fernandez/6866766/1] 
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 5 of 24

                           "A"
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 6 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 7 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 8 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 9 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 10 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 11 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 12 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 13 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 14 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 15 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 16 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 17 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 18 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 19 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 20 of 24




                                                                  "B"
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 21 of 24
Case 6:18-ap-00072-KSJ   Doc 1   Filed 07/10/18   Page 22 of 24
          Case 6:18-ap-00072-KSJ           Doc 1   Filed 07/10/18   Page 23 of 24
       byandReturn
 Prepared        to:
      oneoftheTitle
                    JOHN KINGMAN KEATING
                 Services
         TOWN SQUARE TITLE,LTD.
                                 at:
                       Professionals         "C"        D               2    10579 P : 5178
                                                                          8 ph Page 1 of 2
          TELEPHONE:407.422.2234                           0420 026
                                                            Fee : 18 .50
           FACSIMILE:407.843.8964                       Reed Doc ax: $2 681.70
     250EAST COLONIAL DRIVE,SUITE301                    DOR Admin Fee: $6 -0
          ORLANDO, FLORIDA32801                         Intangible Tax
                                                        Mortgage Stamp     C   troller
         E MAIL:tstc@townsquarel.com                    Martha 0, Haynie, omp
                                                        Orange Countyf0UN SQUARE TITLE LTD
PARCEL
    IDENTIFICATION 25-24-30-4945-01-84o
             NUMBER(S):                                  EX - Re
       EIN:
GRANTEE(S)
LNI3015


                                                                      RECORDING
                                                                            INFORMATION
                                                                                    ABOVE
                                                                                        THIS
                                                                                           LINE



                               WARRANTY                DEED




        THIS WARRANTY    DEED ismade and executedthis      ey    of May 2013, by Weekley Homes,
LLC,  a Delaware limited       company, flklaWeekley Homes, L.P., a Delaware limitedpartnership
                        liability
(the"Grantor")witha mailingaddressof 225 Westmonte Drive,AltamonteSprings,
                                                                         Florida32714,toDustin
R. Fredricksonand Regla Fredrickson,husband and wife(collectively
                                                               the "Grantee")
                                                                            witha mailingaddress
of7865 MistralDrive,Orlando,Florida32827.

WITNESSETH: That theGrantorforand in consideration of thesum of $10.00and othergood and valuable
            the receiptand sufficiency
consideration,                      of which is herebyacknowledged,hereby grants,bargains, sells,
aliens,
      remises,       conveysand confirmsuntothe Grantee,allthatcertain
             releases,                                                 propertysituated
                                                                                      in Orange
              viz:
County,Florida,

       Lot 184, Laureate Park Phase 1B, according to the map or plat thereof, as
       recorded in Plat Book 76, Page(s) 145 through 152, inclusive,of the Public
       Records of Orange County, Florida.

       TOGETHER    withallthetenements,
                                      hereditaments
                                                 and appurtenances
                                                                thereto
                                                                      belongingor in anywise
appertaining.

       TO HA VE AND   TO HOLD, thesame infeesimpleforever.

       FURTHER, theGrantorherebycovenants    withsaidGranteethattheGrantorislawfully seizedof said
realpropertyin fee simple;thattheGrantorhas good rightand lawfulauthority
                                                                        to selland convey saidreal
property;thattheGrantorherebyfullywarrantsthetitletosaidrealpropertyand willdefendthesame against
thelawfulclaimsof allpersonswhomsoever;and thatsaidrealpropertyisfreefrom allencumbrances;  except
taxesand assessmentsfortheyear2013 and allsubsequentyears,and allconditions,
                                                                           restrictions,
                                                                                      reservations,
          easementsof record,ifany,zoningand othergovernmental
limitations,                                                            and othermatters
                                                              regulations               of record,
provided,however,thisreferenceshall
                                  notservetoreimposesame.
          Case 6:18-ap-00072-KSJ          Doc 1     Filed 07/10/18     Page 24 of 24



       IN WITNESS    WHEREOF,    thesaidGrantorhasexecutedthisWarrantyDeed on theday and yearfirst
abovewritten.

WITNESSES:                                         GRANTOR:
                                                   WEEKLEY    HO    S, LLC, a Delaware limited
                                                          company f/kla
                                                   liability              EKLEY HOMES, L.P.,
                                                   a Delawarelimi  artnership

                                                  By:
WITNESS
     SIGNATURE
                                                  JOhn Kingman Ke ting,as itsAuthorizedAgent
       udrey Robinson

WIT SSN EPRINT



WITNESS
     SIGNATURE
                 Y

WITNESS
     NAMEPRINTED




STATE OF FLORIDA
COUNTY OF ORANGE

        IHEREBY CERTIFY,asanofficerdulyauthorized
                                              totake            andoaths
                                                   acknowledgments      intheState
                                                                                 andCounty
                                                                                         aforesaid, at
                                                                                                 that
theexecution
          ofthis
               instrument
                      onthedateset
                                 forth     JohnKingman
                                      below,         Keating
                                                           personally     before
                                                                   appeared     me asanAuthorized
                                                                                               Agentof
WeekleyHomes,LLC,a Delaware
                          limited
                               liability     f/k/a
                                      company,   Weekley          a Delaware
                                                        Homes,L.P.,         limited       andexecuted
                                                                                  partnership       or
          his/her/their
acknowledged              execution
                   previous      ofthis        IHEREBY FURTHER CERTIFY, atJohnKingman
                                       instrument.                                             is/are
                                                                                        Keating,   the
sameperson(s)
           either     oracknowledging
                executing           execution
                                           oftheforegoing
                                                       instrument
                                                               because: personally
                                                                                 knowhim/her/them
                                                                                                OR OI
have satisfactory
                evidenceof same based upon aO        Floridadriver's licenseor O Other identifi:
                                     .WITNESS my handandofficial
                                                             sealintheState
                                                                          andCountyaforesaid
                                                                                          this      y
 f ay2013.



NotaryPublicSig ture
    NOTARY
(PLACE   NAME&S LIMMEDIATELY
                         BELOW)




             AUDREYM.ROBINSON
            MYCOMMISSION
                     #EE150003
            EXPIRES:   7,
                        2018
                  January
          Bonded.)olary
                    Public
                       Underwrilers
